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            EXHIBIT C
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                  Records Retention and Protection Policy




           matterport®

                Records Retention and
                  Protection Policy




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Revision History

Version    Date             Revision           Summary of Changes
                            Author
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1 Introduction

In its everyday business operations Matterport collects and stores records of many
types and in a variety of different formats. The relative importance and sensitivity of
these records also varies and is subject to the organization's security classification
scheme, as documented in the Matterport Information Security Policy.

It is important that these records are protected from loss, destruction, falsification,
unauthorized access and unauthorized release and a range of controls are used to
ensure this, including backups, access control and encryption.

Matterport also has a responsibility to ensure that it complies with all relevant legal,
regulatory and contractual requirements in the collection, storage, retrieval and
destruction of records. Of particular relevance is the European Union General Data
Protection Regulation (GDPR) and its requirements concerning the storage and
processing of personal data.

This control applies to all systems, people and processes that constitute the
organization's information systems, including employees, suppliers and other third
parties who have access to Matterport systems.

The following documents are relevant to this policy:

      •    Data Protection Policy
      •    Organization-wide Personal Data Inventory


2     Records Retention and Protection Policy

This policy begins by establishing the main principles that must be adopted when
considering record retention and protection. It then sets out the types of records held by
Matterport and their general requirements before discussing record protection,
destruction and management.

2.1       General Principles
There are a number of key general principles that must be adopted when considering a
record retention and protection policy. These are:

      •    Records must be held in compliance with all applicable legal, regulatory and
           contractual requirements
      •    Records must not be held for any longer than required
      •    The protection of records in terms of their confidentiality, integrity and availability
           must be in accordance with their security classification
      •    Records must remain retrievable in line with business requirements at all times


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      •   Where appropriate, records containing personal data must be subject as soon as
          possible to techniques that prevent the identification of a living individual

2.2       Record Types and Guidelines
In order to assist with the definition of guidelines for record retention and protection,
records held by Matterport are grouped into the categories listed in the table on the
following pages. For each of these categories, the required or recommended retention
period and allowable storage media are also given, together with a reason for the
recommendation or requirement.

Note that these are guidelines only and there may be specific circumstances where
records need to be kept for a longer or shorter period of time. This should be decided on
a case by case basis as part of the design of the information security elements of new
or significantly changed processes and services.

Further information about records held by the organization, including their security
classifications and owners can be found in the Organization-wide Personal Data
Inventory.




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Record Category    Description                          Retention             Reason for Retention              Allowable Storage
                                                        Period                Period                            Media
Accounting         Invoices, purchase orders,           Minimum of7           IRS and future SOX                Electronic only - paper
                   accounts and other historical        years                 compliance requirement            records must be
                   financial records                                                                            scanned and stored in
                                                                                                                Box
Budgeting and      Forward-looking financial            Minimum of7           Future SOX compliance             Electronic
ForecastinQ        estimates and plans                  years                 requirement
System             Web and app server logs              90 days               Information Security Policy       Electronic
Transaction Logs
Audit Logs         Security logs e.g. records of        Minimum of7          Low cost robust storage in         Electronic - AWS S3
                   logon/logoff and permission          years                AWS enables these to be
                   changes, API access via AWS                               kept indefinitely
                   Cloud Trail
Operational        Records associated with the          Minimum of7           No business reason to delete      Electronic
Procedures         completion of operational            years                 records
                   procedures in the form of Jira
                   tickets and Confluence paQes
Customer Data      Personal data, including             Up to 10 years       Customer may be inactive for       Electronic
                   customer names, addresses,                                a long period of time, but may
                   order history, but excluding 3D                           still require access or make
                   Models/raw scan images                                    future purchases. IRS and
                                                                             future SOX compliance
                                                                             requirement
3D Model data      3D model data, including raw         Indefinite           Ongoing internal use as            Electronic
                   image data and final processed                            defined in the Matterport
                   models                                                    Cloud Services Agreement
Human resources    See document Matterport HR                                                                   Electronic
                   Data Retention Policy




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Contractual             Legal contracts, eases                7 years after        Maximum period within which       Electronic only - paper
                                                              contract end         dispute might occur               records must be
                                                                                                                     scanned and stored in
                                                                                                                     Box

Employee email          Employee email, local files, files    1 year after          Matterport internal policy       Electronic offline
and personal            stored in cloud storage and           employee                                               storage (DLT)
computer files          computer profiles                     termination

Table 1 - Record types and retention periods




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2.3   Use of Cryptography
Where appropriate to the classification of information and the storage medium,
cryptographic techniques must be used to ensure the confidentiality and integrity of
records. Care must be taken to ensure that encryption keys used to encrypt records are
securely stored for the life of the relevant records and comply with the organization's
policy on cryptography.

Matterport's internal controls require all data at rest be encrypted, regardless of data
classification.

2.4   Media Selection
The choice of long term storage media must take into account the physical
characteristics of the medium and the length of time it will be in use.

Where records are legally (or practically) required to be stored on paper, adequate
precautions must be taken to ensure that environmental conditions remain suitable for
the type of paper used. Where possible, backup copies of such records should be taken
by methods such as scanning. An approved document storage provider should be used.

For records stored on electronic media such as tape, similar precautions must be taken
to ensure the longevity of the materials, including correct storage and copying onto
more robust media if necessary. The ability to read the contents of the particular tape
(or other similar media) format must be maintained by the keeping of a device capable
of processing it.

Records are also stored electronically using cloud storage vendor Box, Google Drive,
and in AWS S3.

2.5   Record Retrieval
The choice and maintenance of record storage techniques must ensure that records
can be retrieved in a usable format within an acceptable period of time. An appropriate
balance should be struck between the cost of storage and the speed of retrieval so that
the most likely circumstances are adequately catered for.

2.6   Record Destruction
Once records have reached the end of their life according to the defined policy, they
must be securely destroyed in a manner that ensures that they can no longer be used.
The destruction procedure must allow for the correct recording of the details of disposal
which should be retained as evidence. The Matterport Information Security Policy
includes detailed data destruction policies and instructions.




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2. 7       Record Review
The retention and storage of records must be subject to a regular review process
carried out under the guidance of management to ensure that:

       •    The policy on records retention and protection remains valid
       •    Records are being retained according to the policy
       •    Records are being securely disposed of when no longer required
       •    Legal, regulatory and contractual requirements are being fulfilled
       •    Processes for record retrieval are meeting business requirements




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